Case 8:05-cv-00692-JSM-TGW Document 277 Filed 04/08/09 Page 1 of 3 PageID 3739




                          UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 JULIE AMANDA TILTON,

        Plaintiff,

 v.                                                 Case No. 8:05-cv-692-T-30TGW

 DESLIN HOTELS, INC., et. al.,

       Defendants.
 _____________________________________/

                                           ORDER

        THIS CAUSE comes before the Court upon remand from the Eleventh Circuit (Dkt.

 274) regarding this Court’s denial of Plaintiff’s request for an award of attorney’s fees

 against Defendant Paul A. Prewitt. On September 6, 2007, this Court entered an Amended

 Order granting Plaintiff’s motion for default judgment against Prewitt (Dkt. 224). In that

 Order, this Court granted Plaintiff the minimum “actual damages” prescribed by 18 U.S.C.

 § 2255(a) but denied Plaintiff’s request for attorney’s fees. Because the Order did not

 articulate the reasoning behind the denial of fees, the Eleventh Circuit remanded that decision

 for this Court “to make appropriate factual findings or to provide a reason for declining to

 award attorney’s fees.” Tilton v. Playboy Entertainment Group, Inc., et al., 554 F.3d 1371,

 1379 (11th Cir. 2009).

        This Court declined to award attorney’s fees because Plaintiff failed to establish that

 the conduct for which she was videotaped constituted “sexually explicit conduct” or “child

 pornography” pursuant to 18 U.S.C. §§ 2251(a), 2252(a), and 2252A(a). Plaintiff’s
Case 8:05-cv-00692-JSM-TGW Document 277 Filed 04/08/09 Page 2 of 3 PageID 3740




 allegations against Prewitt were predicated on his alleged violation of these three statutes.

 The Eleventh Circuit stated as follows in reference to Plaintiff’s claims against another

 defendant:

        We agree with the district court that the “pictures in question do not depict
        anyone with the obvious appearance of a minor” and that no jury “could
        reasonably conclude from observation of the pictures themselves that any of
        the participants were minors.” . . .

        “We have long recognized that the knowledge element of a . . . statute can be
        proved by demonstrating either actual knowledge or deliberate ignorance.”
        United States v. Hristov, 466 F.3d 949, 952 (11th Cir. 2006) (internal
        quotation marks omitted).

 Tilton, 554 F.3d at 1378. Plaintiff’s claims against Prewitt arise from Prewitt’s videotaping

 the same conduct. The Eleventh Circuit further ruled that “[t]he district court did not err

 when it ruled that Tilton’s conduct did not create the realistic impression of an actual sex act”

 necessary to meet the definition of “simulated sexual intercourse” set forth under 18 U.S.C.

 § 2251(a). In doing so, the Eleventh Circuit expressed its agreement with the Fourth Circuit

 that an act “only constitutes simulated sexual intercourse . . . if it creates the realistic

 impression of an actual sexual act.” Giovani Carandola, Ltd. v. Fox, 470 F.3d 1074, 1079-80

 (4th Cir. 2006).

        Plaintiff’s claims against Prewitt, like those against the other defendants, were

 predicated on his inducement of a minor to engage in sexually explicit conduct for the

 purpose of producing a visual depiction and/or his knowing transport or reproduction of a

 visual depiction of a minor engaging in sexually explicit conduct or child pornography.

 Plaintiff, however, has failed to direct the Court to any visual depiction produced or

                                            Page 2 of 3
Case 8:05-cv-00692-JSM-TGW Document 277 Filed 04/08/09 Page 3 of 3 PageID 3741




 transported by Prewitt that meets the definition of sexually explicit conduct pursuant to the

 requisite statutes or how she was damaged thereby. For this reason, the Court denied, and

 again denies, Plaintiff’s request for an award of attorney’s fees against Prewitt.

            It is therefore ORDERED AND ADJUDGED that:

            1.          The Clerk is directed to reopen this case for the limited purpose of entering

                        this Order.

            2.          Plaintiff’s request for an award of attorney’s fees against Prewitt is DENIED

                        for the reasons set forth in this Order.

            3.          All pending motions are denied as moot. The Clerk is directed to close this

                        file.

            DONE and ORDERED in Tampa, Florida on April 8, 2009.




 Copies furnished to:
 Counsel/Parties of Record
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                                                    Page 3 of 3
